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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                    ) Chapter 11
                                          )
Peer Street, Inc., et al..1               ) Case No. 23-10815 (LSS)
                                          )
                Debtors.                  ) (Jointly Administered)
                                          )
                                          ) Related Doc. No. 18
__________________________________________)

    LIMITED OBJECTION AND RESERVATION OF RIGHTS WITH RESPECT TO
DEBTORS’ MOTION FOR ENTRY OF (A) AN ORDER (I) SCHEDULING A HEARING
  ON THE APPROVAL OF THE SALE OF ALL OR SUBSTANTIALLY ALL OF THE
       DEBTORS’ ASSETS FREE AND CLEAR OF ALL ENCUMBRANCES, (II)
  APPROVING CERTAIN BID PROCEDURES, AND THE FORM AND MANNER OF
NOTICE THEREOF, AND (III) GRANTING RELATED RELIEF; AND (B) AN ORDER
 (I) APPROVING ASSET PURCHASE AGREEMENT, (II) AUTHORIZING THE SALE
OF ALL OR SUBSTANTIALLY ALL OF THE DEBTORS’ ASSETS FREE AND CLEAR
OF ALL ENCUMBRANCES, AND (III) GRANTING RELATED RELIEF [Docket No. 18]

         1.       Jax SFH Properties, LLC (“Jax”), by its undersigned counsel, hereby submits this

Limited Objection and Reservation of Rights with respect to Debtors’ Motion for Entry of (A)

an Order (I) Scheduling a Hearing on the Approval of the Sale of All or Substantially All of the

Debtors’ Assets Free and Clear of All Encumbrances, (II) Approving Certain Bid Procedures,

and the Form and Manner of Notice Thereof, and (III) Granting Related Relief; and (B) an

Order (I) Approving Asset Purchase Agreement, (II) Authorizing the Sale of All or Substantially

All of the Debtors’ Assets Free and Clear of All Encumbrances, and (III) Granting Related

Relief [Docket No. 18] (the “Reservation of Rights”).




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    The Debtors in these chapter 11 cases, along with the last four digits of their respective federal tax identification
    numbers, are: Peer Street, Inc. (8584); PS Funding, Inc. (3268); PeerStreet Licensing, Inc. (9435); Peer Street
    Opportunity Fund GP, LLC (8491); Peer Street Funding LLC (9485); PSF REO LLC (1013); PS Options LLC
    (8584); PS Warehouse, LLC (5663); PS Warehouse II, LLC (9252); Peer Street Opportunity Investors II, LP
    (1586); PS Portfolio-ST1, LLC (1868); PSF Ohio, LLC (9485); PSF TX 1, LLC (9485); PSF TX 2, LLC
    (2415); PSF TX 4 LLC (9485). The Debtors’ service address is c/o Province, LLC 2360 Corporate Circle, Suite
    340, Henderson, NV 89074, Attn: David Dunn, Chief Restructuring Officer.


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          2.    On August 10, 2020, Jax brought suit in the Circuit Court of the Fourth Judicial Circuit,

in and for Duval County Florida (the “Florida Action,” see Second Amended Complaint attached as

Exhibit 1) against PS Funding, Inc. to quiet title against several of Jax’s properties and for a declaration

that PS Funding has no interest in the properties because certain alleged mortgages were fraudulent (the

“Allegedly Fraudulent Mortgages”) and signed by someone who did not have the authority to do so.

Other third parties are also defendants in the Florida Action.

          3.    Subsequently, PS Funding, Inc. brought related actions to foreclose on the underlying

properties due to nonpayment on the Allegedly Fraudulent Mortgages, and those actions were

consolidated with and into the Florida Action. Prior to the Petition Date, the Florida Action had been in

the court system for nearly three years, discovery was ongoing and a trial date had been set for March 18,

2024.

          4.    On June 27, 2023, (the “Petition Date”), each of the Debtors commenced a voluntary

case under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11 Cases”).

          5.    As of the Petition Date, the Florida Litigation was automatically stayed by virtue of

Section 362(d) of the United States Bankruptcy Code (the “Automatic Stay”).

          6.    On June 27, 2023, Debtors filed the instant Motion, ultimately seeking to sell all or

substantially all of the debtors’ assets free and clear of all encumbrances.

          7.    The Motion does not list specific assets intended to be sold or excluded from sale and

therefore it is unknown whether Debtors seek to sell the Allegedly Fraudulent Mortgages and/or

related claims of interest in Jax’s real property free and clear of all encumbrances or legal rights. Jax

does not, per se, object to the bidding procedures, but would object to any sale that would purport to

extinguish any property or litigation rights of Jax, including those generally set forth in the Florida

Action.



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        8.     Indeed, Jax’s disputes (i) the validity of the Allegedly Fraudulent Mortgages and (ii)

that Debtors have an interest in Jax’s property. It is hoped that Debtors would not attempt to

include the Allegedly Fraudulent Mortgages or Debtor’s claimed interest in the Jax properties in

Debtors’ proposed sale of all or substantially all of Debtors’ assets, as the foundational question

of whether Debtors possess an interest in Jax’s properties which can be transferred is very much

in dispute. Debtors cannot simply resolve the disputed interests by sale. Thus, it is assumed

that Debtors would not attempt to include Jax’s interests in a sale, but Jax files this Reservation

of Rights out of an abundance of caution to reserve all of its rights with respect to the Motion

and any proposed Sale.

DATED: July 11, 2023                      BY:     /s/ James Tobia
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